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COUNSEL/PARHES OF RECORT
James E. Robinson, pro se
4675 Color Up Ct. AUG 0 3 2016
Las Vegas, Nevada 89122

415 574-9735
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DlSTRICT OF NEvAl)A
DEPUTY _l
UNITED sTATES FEDERAL DrsTlCT COURT
DISTRICT OF NEVADA
JAMES E. ROBINSON. PRO SE Case No.: 2: 16 -cv-00902-JAD-PAL
Plaimirr,
Vs‘ FIRST AMENDED EMPLOYMENT
DISCRiMINATION COMPLAINT FOR DAMAGES
DUNGARVIN NEVADA, L.L.C., CHARLO'I'IE UNDER TITLE VII, THE AMERICANS WITH
MCCLANAHAN, TENEKA MCQUEEN, BARBARA DISABILITIES ACT, THE AGE DISCRIMINATION
JORDAN AND YOLANDA FESTES IN EMPLOYMENT ACT, UNLAWFUL DISCHARGE
FROM EMPLOYMENT, RETALIATION, AND THE
Defendants INTENTIONAL INFLICUON 0F EMOTIONAL
DISTRESS
FIRST AMENDED

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

 

The disabled pro se Plaintiff brings a complaint against Dungarvin Nevada L.L.C.. Charlotte McClanahan
Teneka McQueen. Barbara JordarL and Yolanda Festes. for discrimination as set forth below.

The disabled pro se Plaintift` DOES NOT demand a jury trial.

l. PARTIES
Name and Address of PlaintiH`:
l. The disabled pro se Plaintiff James E. Robinson resides at 4675 Color Up Ct., Unit 103, Las Vegas,
Nevada, 89122. His telephone contact number is (415) 547-9735. His email address is
11`:~1111 ¢:)115;1111;~»" 7\;1~§11.);,).,€<:>111
Name and Address of Defendants:
l. Dungarvin’s National Central OHice, located in Mendota Heights, MN, provides oversight to 13

 

privately owned companies that are supported within their regional structure The National Central
Offlce address for Defendant Dungarvin Nevada, L.h.C., is 1444 Northland Drive. Suite 200. Mendota

FIRST AMENDED EMPLOYN[ENT DISCRIMINATION COMPLAINT FOR DAMAGES UNDER TITLE VII.
THE AMER]CANS WITH DISABILITIES ACT. THE AGE DISCRIMINATION IN EMPLOYMENT ACT,
UNLAWFUL DISCHARGE FROM EMPLOYMENT. RETALIATION. AND THE INTEN'I`IONAL INFLICTION
OF EMOTIONAL DISTRESS ~ l

 

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Heights, MN 55120. Their contact phone numbers are: Phone: (651) 699-0206, Toll Free: (800) 967-
2791, and Fax: (651) 699-0799.

2. The address for Defendant Charlotte McClanahan, Senior Director of Dungarvin Nevada, L.L,C., is
3325 W. Craig SL, Ste. A, No. Las Vegas, Clark County, NV 89032. Her telephone contact number is
(702) 222-2243.

3. The address for Defendant Taneka McQueen, Prograrn Director of Dungarvin Nevada, L.L.C.. is 3325
W. Craig St.. Ste. A. No. Las Vegas. Clark County, NV 89032. Her telephone contact number is (702)
222-2243.

4. The address for Defendant Barbara Jordan, Human Resource Specialist of Dungarvin Nevada. L.L.C..
is 3325 W. Craig St.. Ste. A. No. Las Vegas, Clark County, NV 89032. Her telephone contact number
is (702) 222-2243.

5. The address for Defendant Yolanda Festes, a Program Coordinator of Dungarvin Nevada. L.L.C.. is
3325 W. Craig St., Ste. A, No. Las Vegas, Clark County, NV 89032. Her telephone contact number is
(702) 222-2243.

II. JURISDICTION

1. Jurisdiction over this claim is based on 28 U.S.C. Section 1331. The disabled pro se PlaintiiT alleges
that the defendants discriminated against the disable pro se Plaintiif because of Plaintifi`s:
Race (Title VII of the Civil Rights Act of 1964. as amended, 42 U.S.C. Section 2000e to 2000e-l7)
Age (The Age Discrimination in Employment Act of 1967. 29 U.S.C. Section 621 to 634.)
Disability (The Americans with Disabilities Act of 1990. 42 U.S.C. Section 12112 to 12117)
Genetic lnformation (Genetic Information Nondiscrirnination Act, Pub. L. 110-233. 122 Stat. 881.
enacted May 21. 2008).

2. The disabled pro se Plaintiff has filed a charge before the United States Equal Emplo_vment
Opportunity Comntission (EEOC) on March 4, 2016.

3. The disabled pro se Plaintiff’ s Right to Sue Notice from the EEOC was received on or about March 8,
2016.

FIRST AMENDED EMPLOYMENT DISCRIMINATION COMPLAINT FOR DAMAGES UNDER TITLE VIl.
THE AMERICANS WITH DISABILITIES ACT, THE AGE DISCRIMINATION IN EMPLOYMENT ACT,

UNLAWFUL DISCHARGE FROM EMPLOYMENT, RETALIATION, AND THE INTENTIONAL INFLICTION
OF EMOTlONAL DISTRESS - 2

 

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2. My address is 4675 Color Up Ct., Las Vegas, Nevada, 89122.

3. My phone number is (415) 574-9735.

4` 1 am 65 year-old disabled, African-American male, under the auspices of the Social Security Administration.
I suH`er with Type 11 Diabetes, high blood pressure, and also have a torn meniscus, all for which I began
receiving Medicare Beneiits in 2008.

5. The collective Defendants fostered and created a retaliatory hostile work environment regarding the disabled
pro se P|aintiff here. which was non-protective of my civil rights as a 64 year-old. disabled. African~
American male, which also caused me a significant amount of workplace related stress and anxiety

6. Based on the foregoing l. James E. Robinson hereby allege that the collective Defendants have
discriminated against me based on my:

7. Race (Title VII of the Civi| Rights Act of 1967, as amended, 42 U.S.C. Section 2000e-5)

8. Age (The Age Discn'rnination in Employment Act, 29 U.S.C. Section 621)

9. Disability (The Americans with Disabilities Act, 42 U.S.C. Section 12101)

10. Genetic Information (Genetic Inforrnation Nondiscrimination Act, Pub. L. 110-233, 122 Stat. 881, enacted
May 21, 2008), and are culpable for having also committed against me the torts of:

11. Unlawful Discharge from Employment,

12. Retaliation, and

13. The Intentional Infliction of Emotional Distress, with malice and reckless indifference

1.

FIRST AMENDED EMPLOYMENT DISCRIMINATION COMPLAINT FOR DAMAGES UNDER TITLE VII,

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Ill. STATEMENT OF LEGAL CLAIM
Plaintiff is entitled to relief in this action because:

My name is James E. Robinson.

IV. FACTS IN SUPPORT OF CLAIM

From January of 2015 to Novernber l. 2015. l worked full time, as a disabled 64 year-old African-
American male. in a third shift position for the Defendant Dungarvin Nevada. L.L.C as a program

counselor.

 

 

THE AMERICANS WITH DISABILITIES ACT, THE AGE DISCRIMINATION IN EMPLOYMEN'I' ACT,
UNLAWFUL DISCHARGE FROM EMPLOYMENT, RETALIATION, AND THE INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS - 3

 

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2. During the month of June, 2015 I, while my employer was aware of my disability condition, as a protected
activity, put in a written application for a promotion to program coordinator, in response to a posted job
announcement The position required a Bachelor’s degree in Social Sciences, which 1 had acquired in 2007 .

3. ln retaliatory response 1 was, without pay, called into the office of Defendant Senior Director Charlotte
McClanahan on my off day. and was subjected to an interrogation regarding my written application for
promotion which lasted for more than two hours. and felt, to me, to be designed to discourage me from
seeking the aforementioned promotion l believe that the position was given to a woman who was
approximately 40 years of age.

4. Subsequently, while my employer was aware of my disability condition. and again as a protected activity,
around July and August of 2015, 1 again applied for (2) positions as program coordinator, in addition to (l)
position as house manager

5. ln retaliatory response, l was again called in early and before my shift began, without pay, for another
program coordinator promotion interview, wherein I was informed at that time that the interview went well;
however. and again, l believe that the position was given to a woman who was approximately 40 years of
age.

6. Subsequent|y 1 came to understand that the house manager position for which 1 had applied. had also been
given to another woman who was approximately 40 years of age. as well.

7. On Wednesday. August 26. 2015, I again and as a protected activity. while my employer was aware of my
disability condition electronically filed a written grievance with the Defendant Dungarvin Nevada. L.L.C..
specifically to Defendant Senior Director. Charlotte McClanahan at their Bucking Bronco site. after
Defendant Barbara Jordan, Human Resource Specialist of Dungarvin Nevada. L.L.C.. refused to accept the
hard copy.

8. In retaliation, while my employer was aware of my disability condition, on November 1, 2015, l was
summarily dismissed from employment from Defendant Dungarvin L.L.C., under a perfunctory

mendacious ruse of pretext

FIRST AMENDED EMPLOYMENT DISCRIMINATION COMPLAINT FOR DAMAGES UNDER TITLE VII.
THE AMERICANS WITH DISABILITIES ACT, THE AGE DISCRIMINATION IN EMPLOYMENT ACT,

UNLAWFUL DISCHARGE FROM EMPLOYMENT. RETALIATION, AND THE INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS - 4

 

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9. Until this very day, my August 26, 2015 written grievance to Defendant Dungarvin L.L.C., while my
employer has been aware of my disability condition, has still not been addressed or discussed with me. in

any form or manner.

V. REQUEST FOR RELIEF

Based on the foregoing PlaintiH` seeks the following relief;
a. An award of back pay

b. Costs of suit

c. An award of money damages

d. Punitive damages

Dated this [day] of August, 2016.

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.James E. Robt`ns'on, pro se
4675 Color Up Ct.
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FIRST AMENDED EMPLOYMENT DISCRIMINATION COMPLAINT FOR DAMAGES UNDER TITLE VII,
THE AMERICANS WITH DISABILITIES ACT, THE AGE DISCRIMINATION IN EMPLOYMENT ACT,

UNLAWFUL DISCHARGE FROM EMPLOYMENT, RETALIATION, AND THE INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS - 5

 

